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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
____________________________________
UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )
                                     )
            v.                       ) Crim. A. Nos. 23-61-MN & 23-mj-274-MN
                                     )
ROBERT HUNTER BIDEN,                 )
                                     )
                  Defendant.         )

                       ORDER PURSUANT TO FED. R. CRIM. P. 5(f)

        The United States is obligated, pursuant to Brady v. Maryland, 373 U.S. 83 (1963), Giglio

v. United States, 405 U.S. 150 (1972), and subsequent cases, to timely disclose information

favorable to the defense as to criminal liability on the charged offense(s) or mitigation of any

punishment that may be imposed. Such favorable information includes information that may cast

doubt on the credibility of government witnesses. Possible consequences for violating this order

include exclusion of evidence, dismissal of charges, contempt proceedings, disciplinary referral,

and any other relief authorized by law.

       IT IS SO ORDERED.



Dated: July 26, 2023                                _____________________________
                                                    UNITED STATES DISTRICT JUDGE
